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                                     United States District Court
                                        District Of Maryland
     Chambers of                                                                     101 West Lombard Street
Ellen Lipton Hollander                                                               Baltimore, Maryland 21201
  District Court Judge                                                                     410-962-0742



                                                     April 9, 2015

       MEMORANDUM TO COUNSEL

              Re:        United States v. Keyon Paylor
                         Criminal No.: ELH-14-00271

       Dear Counsel:

               As you know, counsel for Mr. Paylor sought a subpoena for records of the Baltimore City
       Police Department Internal Affairs Divison (“IAD”) as to the four Baltimore City police officers
       involved in this case. ECF 40. In the alternative, he sought an in camera review of the IAD
       records by the Court. See ECF 40 (ex parte subpoena request, ¶ 11). For the reasons discussed
       in our telephone conference on April 2, 2015, I determined that an in camera review by the
       Court is the appropriate way to proceed.

               On April 1, 2015, I received a letter from the government (ECF 42), along with the three
       compact discs containing IAD records for three potential witnesses in the above captioned case:
       Sgt. Jordon Moore, Badge No. I496; Detective Timothy Romeo, Badge No. I678; and Detective
       Daniel Hersl, Badge No. G491. In ECF 42, the government represented that it had no IAD files
       for a fourth potential witness, Sgt. John Burns. However, on April 8, 2015, the government
       submitted a letter (ECF 58), as well as a disc containing IAD files for Sgt. John Burns, Jr., Badge
       No. G940. In addition, the government submitted an additional IAD file, in paper format, as to
       Det. Moore. All IAD materials were submitted ex parte.

              Over the course of three days, I spent several hours reviewing the IAD materials to
       determine whether any of the materials fall within the ambit of Giglio v. United States, 405 U.S.
       150 (1972), or Brady v. Maryland, 373 U.S. 83 (1963). See also United States v. Kelley, 35 F.3d
       929 (4th Cir. 1994). In connection with my review of the materials, I considered the arguments
       advanced by the defense in its ex parte submission dated April 3, 2015. See ECF 54.

               I note, preliminarily, that in ECF 42, the government indicated that the discs contain two
       IAD files for which Judge Quarles previously determined disclosure was required in the case of
       United States v. Tavon Hall, WDQ-14-122. These are referenced in ECF 42 as 2003-0215 and
       2003-1156. However, I noticed that 2003-0215 was not contained on any of the discs provided
       to me. Rather, I had a file labeled 2003-0216. In addition, I noted that although the government
       claimed the discs contained file 2014-573, this file was not included. Moreover, I could not
       locate file 2014-459, referenced in ECF 42, although I located 2014-457. As a result, I contacted
       Mr. Martinez to bring these assorted matters to his attention.
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       In response, the government filed a submission on April 3, 2015 (ECF 48), providing me,
ex parte, with a paper copy of IAD 2014-573. Id. In addition, the government noted that Judge
Quarles had ordered production of 2003-0216, not 2003-0215. And, the government advised that
ECF 42 should have referred to 2014-457, not 2014-459.

         In my review of the IAD records with respect to Sgt. Jordon Moore and Detective
Timothy Romeo, the IAD records do not contain any sustained charges of misconduct. Nor do
the files reflect any determination that these two officers lied, made false statements, or
fabricated charges of wrongdoing.

       As to Detective Daniel Hersl, I reviewed 30 files/complaints. The government shall
disclose the following IAD files of Det. Hersl, subject to a proposed protective order to be
submitted promptly by counsel (jointly, if possible).

       1) 2003-0216

       2) 2003-1156

       3) 2006-0080

       Notably, file 2006-0080 pertains to two officers, only one of whom is involved in Mr.
Paylor’s case. Therefore, the government may redact the documents to delete the name of the
second officer whose conduct is not pertinent to this case.

        4) In addition, I will order partial disclosure of file 2011-0143. In particular, the
government shall disclose the letter of February 3, 2012, from Grayling Williams to the
Commanding Officer, which reflects the failure of Officer Hersl to issue an evidence receipt to
Darryl Wall, Jr. For context, I will also require disclosure of the 17th page of the file, i.e., the
undated Memo to the Chief of the Internal Investigation Division from Detective Kirsten Rogers
that contains the “Basis of Complaint” and the name of the Complainant. Notably, the file does
not contain any indication of disciplinary action taken by the Commanding Officer. Moreover,
the remaining portion of the file need not be disclosed, based on findings of “unfounded” and
“not sustained” as to all other allegations against the officers, including Det. Hersl. Because
there were no sustained findings, the government may redact the names of the police officers,
other than Hersl, from the two pages subject to disclosure.

        5) File 2014-0637 appears to refer to a lawsuit on behalf of George Lee; it does not
constitute a confidential personnel record. Therefore, this file shall be disclosed.

        In sum, as to all of the IAD files that I reviewed, I have not ordered disclosure of any
records concerning allegations of wrongdoing or misconduct that resulted in determinations of
facts as unfounded, not sustained, or where the officer(s) were exonerated, or where the matter
was administratively closed, without any adverse finding of misconduct.




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        By Monday, April 13, 2015, I ask that the government provide me with a status report as
to the following open IAD matters: 2014-0670 and 2015-0020. And, the government is directed
to retain all of the discs and paper submissions in the event they are needed for appeal.

       Despite the informal nature of this letter, it is an Order of the Court and shall be docketed
as such.

                                                             Sincerely,

                                                                 /s/
                                                             Ellen Lipton Hollander
                                                             United States District Judge




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